                                                                                            FILED
                                                                                        GHARLOTTE' NG
                      IN THE LTNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH  CAROLINA I'IAR 3 . iUi5
                                   CHARLOTTE DIVISION
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                                CRIMINAL NO.: 3:1 5cr20-R.IC

LINITED STATES OF      AMERICA.                      )
                                                     )        CONSENT ORDERAND
       v.                                            )      JUDGMENT OF FORFEITURE
                                                     )        PENDING RULE 32.2(c)(2)
JOSE DE JESUS     MLINOZ"                            )


        BASED UPON the defendant's conviction and finding that there is a nexus between the
property listed below and the offense(s) to which the Defbndant has been convicted and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

       l.       The following property is fbrfeited to the United States pursuant to 21 U.S.C. $
853 and/or 28 U.S.C. $ 2461(c), provided, however. that forfeiture of specific assets is subject to
any and all third party petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

     . Colt Government Model .38 caliber pistol, serial #2826763
   ' . Beretta Model 96A1 .40 caliber pistol, serial #A51488M
     o Mossbery12 gauge shotgun, serial #JI91436
     o Colt Super 38 automatic. .38 caliber pistol. serial #28331 19
     o FNH USA LLC Model 5-7 (FNP357) 5.7 or .357 caliber pistol, serial #386245606
     o Century Arms Model M70AB2 7.62 callber rifle, serial #M70AB25604
     o Spike's Tactical Model ST15 .223 caliber rifle, serial #SBR-65139
     . Smith & Wesson Model M&P 15 .223 caliber rifle. serial #SN93871
     . Colt Model Super 38 automatic. .38 caliber pistol, serial #ELCEN7980
     o AMT (California Arcadia) Model Backup Il. .380 caliber pistol, serial #Rl0529
     o Century Arms AK pistol, 7.62 caltber, serial #AKP-C900034
     . Benelli Model MlSuper 90 12 gauge shotgun, serial #M205142
     o Marlin Model 60 .22 caliber rifle, serial #23476567
     o Diamondback Arms Model DB-15 .223 caliber pistol, serial #DB1528578
     o Walther Model Colt Rail Gun, .22 caliber pistol, serial #WD006004
     o Ruger Model 10122 .22 caliber rifle, serial #247-13724
     . Kahr Arms-Auto Ordnance 12 gauge shotgun, serial #TR12088240
     o Beretta Model 950 BS .25 caliber pistol, serial #BER28027Y
     o All funds in Fidelity bank accounts xxxx2485, xxxx7390,xxxx6l08, xxxx1370,
            xxxx0509, xxxx7648, and xxxx2840




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       .    All funds in Wells Fargo bank accounts xxxx8906, xxxx6707, xxxx0734, xxxx0746,
            xxxxO509, xxxx7648, xxxx2840
       o The real property located at 314 Church Street, Montgomery County, Biscoe, North
            Carolina
       o    The real property located at 1011 Chamberline Drive, Randolph County, Asheboro,
            North Carolina
       o    The real property located at 413 South Whisky, Montgomery County, Candor, North
            Carolina.
       o    The real property located at 110 E. Main Street, Montgomery County, Biscoe, North
            Carolina
       o    The real property located at 344 Windy Lane, Montgomery County, Candor, North
            Carolina
       o    The real property located at 406 Blake Street (two tracts), Montgomery County,
            Biscoe. North Carolina
       o The real property comprising approximately 23.06 acres located on Tany Church
            Road, Moore County, more particularly described in Deed Book 3687, Page 335
       o The real property comprising approximately 54.842 acres in Rocky Springs
            Township. Montgomery County, more particularly described in Deed Book 595, Page
            35, Eagle Springs. North Carolina
       o    The real property comprising approximately 61.643 acres in Rocky Springs
            Township, Montgomery County. more particularly described in Deed Book 709, Page
            370, Eagles Spring, North Carolina

       2.       The United States Marshals Service. the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

       3.      If and to the extent required by Fed. R. Crim. P. 32.2(bX6),21 U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written
notice of lbrfbiture.

       4.      A forfeiture money judgment shall be included in the defendant's sentence. and
the United States may take steps to collect the judgment from any property of the defendant,
provided, the value of any fbrfeited specific assets shall be credited toward satisfaction of this
money judgment upon liquidation

       5.       Any person, other than the Defendant, asserling any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        6. Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identiff, locate, or dispose of
the property, including depositions, interrogatories, and request tbr production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.



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        7   .   As to any specific assets, tbllowing the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

        The parties stipulate and agree that the aforementioned asset(s) constitute property
derived tiom or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 18 U.S.C. $ 924(d),21 U.S.C $ 853 and/or 28 U.S.C. $ 2a6l(c). The Defendant
hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of the
forfeiture in the charging instrument. announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment against Defendant. If the Defendant has
previously submitted a claim in response to an administrative fbrfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim. Defendant hereby waives all right to do so. As to any firearms listed
above and/or in the charging instrument, Defendant consents to destruction by federal. state, or
local law enforcement authorities upon such legal process as they , in their sole discretion deem
to legally suflicient, and waives any and all right to turther notice of such process or such
destruction..


JILL WESTMORELAND ROSE
ACTING STATES ATTORNEY




STEVEN R.KAUFMAN
Assistant United States Attomey                 Defendant




                                                DANIEL BAKER MCINTYRE, III, ESQ.
                                                Attorney for Defendant


Signed this thc 30th day ofMarch 2015。




                                                                           VID C.KEESLER
                                                LINITED STA           MAGISTRATE JUDGE




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